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 5                            UNITED STATES DISTRICT COURT
 6                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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 8   NEMAN BROTHERS & ASSOC.,                  Case No. 2:20-cv-11181-CAS-JPRC
     INC., a California Corporation,
 9                                             [PROPOSED] ORDER GRANTING
                 Plaintiff,                    JOINT STIPULATION TO
10                                             MODIFY SUPPLEMENTAL
           v.                                  BRIEFING SCHEDULE
11
12
     INTERFOCUS, INC. d.b.a.                   The Hon. Christina A. Snyder
     www.patpat.com, a Delaware
13   Corporation; CAN WANG, and
     individual, and DOES 1-10, inclusive.,
14
                 Defendants.
15
16   INTERFOCUS, INC. d.b.a.
     www.patpat.com, a Delaware
17   Corporation; CAN WANG, an
     individual, and DOES 1-10, inclusive,
18
                 Counterclaim Plaintiffs,
19
           v.
20
     NEMAN BROTHERS & ASSOC.,
21   INC., a California Corporation,
22
                 Counterclaim Defendant.
23
24
25         The Court having reviewed the Joint Stipulation to Modify Supplemental
26   Briefing Schedule,
27         IT IS ORDERED, ADJUDGED AND DECREED as follows:
28         1. The date for Neman to file its reply brief for supplemental summary
                                              1
         [PROPOSED] ORDER GRANTING JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING
                                           SCHEDULE
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 1            judgement briefing should be extended to November 23, 2021, and
 2            Interfocus will bear the difference between the reasonable cost of normal
 3            transcript delivery and expediated transcript delivery by Neman’s deposition
 4            vendor, if any.
 5        2. The hearing is extended to December 6, 2021.
 6
          3. Parties stipulate that Neman may have up to and including November 30,
 7
              2021, to file a discovery motion relating exclusively to the Rule 30(b)(6)
 8
              deposition.
 9
          4. All other dates remain the same.
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     Dated:                                ________________________________
12
                                           The Honorable Christina A. Snyder
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         [PROPOSED] ORDER GRANTING JOINT STIPULATION TO MODIFY SUPPLEMENTAL BRIEFING
                                           SCHEDULE
